Case 1:19-cr-00096-SPW Document 48 Filed 05/06/20 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

 

BILLINGS DIVISION
UNITED STATES OF AMERICA, CR 19-96-BLG-SPW
Plaintiff,
vs. FINAL ORDER OF FORFEITURE
ROBERT ANTHONY HOUSE,
Defendant.

 

 

THIS MATTER comes before the Court on the United States’ Motion for a
Final Order of Forfeiture (Doc. 46). The Court having reviewed said motion and
brief FINDS:

1. The United States commenced this action pursuant to 18 U.S.C. § 2253;

2. A Preliminary Order of Forfeiture was entered on January 24, 2020;

3. All known interested parties were provided an opportunity to respond
and that publication has been effected as required by 18 U.S.C.§ 982(b)(1) and 21

U.S.C. § 853(n)(1);

4. It further appears there is cause to issue a forfeiture order under 18
Case 1:19-cr-O0096-SPW Document 48 Filed 05/06/20 Page 2 of 2

U.S.C. § 2253;

IT IS THEREFORE ORDERED, DECREED, AND ADJUDGED:

1. The Motion for Final Order of Forfeiture is GRANTED.

Zn Judgment of forfeiture of the following property shall enter in favor of
the United States pursuant to 21 U.S.C. § 853, free from the claims of any other
party:

e Taurus, model PT738 TCP, .380 ACP caliber semi-automatic pistol
(S/N: 4349ID)

e Six (6) rounds of .380 ACP caliber ammunition

3. The United States shall have full and legal title to the forfeited

property and may dispose of it in accordance with law.

DATED this é 7 Gay of May, 2020.

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SUSAN P. WATTERS
United States District Court Judge
